•'           Case
             ;    2:10-cr-00508-SJF                     Document 85            Filed 06/16/14           Page 1 of 4 PageID #: 218
     Olii.AO 2450   (Rev. 12/07) Judgment in a Criminal Case for Revocations
                    Sheet!
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                                           UNITED STATES DIS1RICT COURT's                                                                        i.
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                                                         EASTERN District of NEW YORK                                           JUIJ ; 6 2014
              UNITED STATES OF AMERICA                                         Judgment in a Criminal Case               LO
                                                                                                                                                        *
                                   v.                                          (For Revocation of Probation or Supervised    R~~e~SLANO OFFJC£

                          LEE REITZEL                                          Case No.         CR-10-508-003
                                                                               USMNo.           76254-053
                                                                                                JOHN WALLENSTEIN, ESQ.
                                                                                                         Defendant's Attorney
 THE DEFENDANT:
        admitted guilt to violation of condition(s)           _ _ _ _ _ _ _ _ _ _ _ _ ofthetennofsupervision.




 x      was found in violation of condition(s) count(s)                                       after denial of guilt.


 The defendant is adjudicated guilty ofthese violations:


                                                                                             Violation Ended
                        (3)                                 ASSOCIATE WITH ANY PERSONS       2/14/2014
                                   ENGAGED IN CRIMINAL ACTIVITY AND SHALL NOT ASSOCIATE WITH
                                   ANY PERSON CONVICTED OF A FELONY, UNLESS GRANTED
                                   PERMISSION TO DO SO BY THE PROBATION OFFICER.




        The defendant is sentenced as provided in pages 2 through              ~·~----of this judgment.           The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.


        The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.




It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitutiOn, costs, and special assessments imposed by this judgment are fully paid. If


                                                                                                                   i Q
ordered to pay restitution, the defenOant must notify the court and United States attorney of material changes in econo1111c circumstances.

 L~t Fouc o;g;Mf Dof'"d""t'' Soc. s~. No.:                   0776                                         MAY          201
                                                                                                   Dflt""-flmnos:On of J~ nt
 Defendant's Year of Birth:              1990                                   s/ Sandra J. Feuerstein
 City and State of Defendant's Residence:
                 BRENTWOOD, NEW YORK

                                                                                                       Name and Title of Judge

                                                                                                          DJNE 16 2014
                                                                                                              Date
..          Case 2:10-cr-00508-SJF                     Document 85                 Filed 06/16/14   Page 2 of 4 PageID #: 219




     AO 2450     (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 2- Imprisonment

                                                                                                       Judgment- Page   2    of     4
     DEFENDANT:                   LEE REITZEL
     CASE NUMBER:                 CR-l 0-508-003


                                                                    IMPRISONMENT

             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
     total tenn of;
     TWELVE (12) MONTHS




        D    The court makes the following recommendations to the Bureau of Prisons:




        X    The defendant is remanded to the custody of the United States Marshal.

        0    The defendant shall surrender to the United States Marshal for this district:
             0    at   -------- D                           a.m.     D      p.m.       on
             0    as notified by the United States Marshal.

        D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             0    before 2 p.m. on
             D    as notified by the United States Marshal.
             0    as notified by the Probation or Pretrial Services Office.

                                                                            RETURN

     I have executed this judgment as follows:




             Defendwlt delivered on                                                          to - - - - - - - - - - - - - - -

     at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                                   B
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            Case 2:10-cr-00508-SJF                     Document 85          Filed 06/16/14        Page 3 of 4 PageID #: 220
     AO 2450     (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 3- Supervised Release
                                                                                                       Judgment   Page ___L__ of           4
     DEFENDANT:                 LEE REITZEL
     CASE NUMBER:               CR-1 0-508-003
                                                                SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     TIIREE (3) YEARS




              The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
     from the custody ofthe Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an:x unlawful use of a controlled
     substance. The defendant shall stibtnit to one drug test within 15 days of release from imprisonment and at least two periodic drug
     tests thereafter as determined by the court.
     D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
     X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
     0     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
           or is a student. as directed by the probation officer. (Check, if applicable.)
     D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
              If this judgl)lent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
     with the Schedule of Payments sheet of this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
     conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
     I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
               five days of each month;                                                   .
     3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
               officer;
     4)        the defendant shall support his or her dependents and meet other family responsibilities;

     5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
               or other acceptable reasons;
     6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

     7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

     9)        the defendant shall not associate with any ~ons engaged in criminal activity and shall not associate with any person
               convicted of a felony, unless granted permission to do so by the probation officer;
     10)       the defendant shall pennit a probation off}cer t9 vi~it him or her at ap.y time at home or elsewhere and shall permit
               confiscation of any contraband observed m plam v1ew of the probatiOn officer;
     II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
               enforcement officer;                                     .
     12)       the defendant shaH not enter into any agreement to act as an informer or a special agent of a law enforcement agency
               without the permission of the court; and
     13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
               defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
               notifications and to confinn the defendant's compliance with such notificatton requirement.

                 (Rev. 1207) Judgment in a Criminal Case for Revocations
                 Sheet JA- Supervised Release
    . Case
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                                                                                          Judgment   Page ----±...._ of
DEFENDANT:                LEE REITZEL
CASE NUMBER:              CR- I 0-508-003

                                        ADDITIONAL SUPERVISED RELEASE TERMS

I. The defendant shallJ?articipate in an outpatient and/or inpatient drug treatment or detoxification program
approved by ~e ProbatiOn Department. T!ie defendant shall pay the costs of such treatment/detoxification to
the degree he ts reasonably able, and shall cooperate in secunng any applicable third-party payment. The
defendant shall disclose all financial information and documents to the Probation De,Partment to assess his
ability to pay. The defendant shall not consume an>' alcohol or other intoxicants dunng or after
treatment/detoxification, unless granted a prescriptiOn by a licensed physician and proof of the same is
provided to the Probation Department. The defendant shall submit to random testing during and after
treatment to ensure abstinence from drugs and alcohoL

2. The defendant shall submit his person, residence, place of business, vehicle or any other premises under
his control to a search on the basis that the probation officer has reasonable belief that contraband or evidence
of a violation of the conditions of supervised release may be found. The search must be conducted in a
reasonable manner and at a reasonable time. The defendant's failure to submit to a search may be grounds for
revocation. The defendant shall inform any other residents that the premises may be subject to search
pursuant to this condition.
3. The defendant shall maintain full-time verifiable employment as approved by the Probation Department.
During any periods of unemployment, the defendant shall perform 20 hours of community service per week in
a manner approved by the Probation Department. The defendant will cooperate in allowing the Probation
Department to confirm the community service completed.
4. For a period of 6 months, the defendant shall comply with a curfew via electronic monitoring as directed
by the U.S Probation Department. The defendant will remain at his place of residence from 7 p.m. to 7 a.m.
The Probation Department may designate another respective time period, if the defendant's employment,
education, or observance of religious services preclude the above specified times. The curfew via electronic
monitoring shall commence on a date approved by the Probation Department. During the curfew period, the
defendant shall wear an electronic momtoring bracelet or similar tracking device and follow all requirements
and procedures established for the curfew via electronic monitorin~ by the Probation Department. In addition
the defendant shall pay all costs, includin~ the price ofthe_el~ctrornc ~onitoring equipment, to the de&ree he
is reasonably able. The defendant shall disclose all financial mformatton and documents to the ProbatiOn
Department to assess his ability to pay.




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          Sheet 38 Supervised Release
